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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


ANISH KAPOOR,

               Plaintiff,

v.                                                       No. 1:18-cv-04252

                                                         Judge John Z. Lee
NATIONAL RIFLE ASSOCIATION OF
AMERICA,                                                 Magistrate Judge Daniel G. Martin

               Defendant.


                            DEFENDANT’S MOTION TO TRANSFER

       Defendant National Rifle Association of America (“NRA”), by and through its counsel,

hereby moves to transfer this case to the U.S. Eastern District of Virginia because this case has

no jurisdictional ties to the state of Illinois or the U.S. Northern District of Illinois. First, the

Court should transfer this case to the U.S. Eastern District of Virginia pursuant to 28 U.S.C.

§ 1631 because plaintiff Anish Kapoor has failed to plead personal jurisdiction. Additionally,

the case should be transferred under 28 U.S.C. § 1406 because venue is improper. And the Court

should transfer this case pursuant to 28 U.S.C. § 1404 in the interests of justice and for the

convenience of the witnesses and parties.

       WHEREFORE, for the foregoing reasons, as set forth more fully in the accompanying

memorandum of law, the Court should transfer this case to the U.S. Eastern District of Virginia.

                               NOTICE OF MEET AND CONFER

       Pursuant to the Court’s Case Procedures, the NRA’s counsel met and conferred with

opposing counsel regarding the relief sought in this Motion. Plaintiff’s counsel indicated that

Plaintiff objects to this motion.


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                                     Respectfully submitted,

                                     NATIONAL RIFLE ASSOCIATION OF
                                     AMERICA

                                     By:    /s/ Blaine C. Kimrey
                                           One of its attorneys

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Dated: August 15, 2018




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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 15, 2018, a copy of the foregoing was electronically filed

in the ECF system. Notice of this filing will be sent to the parties of record by operation of the

Court’s electronic filing system. Parties may access this filing through the court’s system.



                                                 /s/ Blaine C. Kimrey
